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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                    Plaintiff,



v.                                    ORDER
                                      Criminal File No. 11-87 (MJD/JJK)

(9) OLUGBENGA TEMIDAGO ADENIRAN,

                    Defendant.

Ann M. Anaya, Assistant United States Attorney, Counsel for Plaintiff.

Daniel Mohs, Law Office of Daniel Mohs, Counsel for Defendant.

      This matter is before the Court on Defendant Olubenga Temidago

Adeniran’s pro se letter motion for appointment of new counsel. [Docket No.

600] The Court denied Defendant’s previous letter request for new counsel on

January 30, 2012.

      “A defendant must show justifiable dissatisfaction with appointed counsel

in order to be granted a substitute.” United States v. Exson, 328 F.3d 456, 460

(8th Cir. 2003). The decision whether to grant a motion for appointment of new

counsel is within the discretion of the district court. Id. The Court has


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thoroughly reviewed Defendant’s most recent letter, as well as his previous

letters to the Court, is familiar with his counsel’s work in this matter so far, and is

familiar with the legal arguments that Defendant wishes that his counsel would

raise in this case. The Court has also considered Defendant’s allegations

regarding the communications between counsel and Defendant. The Court finds

that Defendant has not shown justifiable dissatisfaction with his appointed

counsel.




      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:

      Defendant Olubenga Temidago Adeniran’s motion for new counsel
      [Docket No. 600] is DENIED.



Dated: February 3, 2012                 s/ Michael J. Davis
                                        Michael J. Davis
                                        Chief Judge
                                        United States District Court




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